   Case 19-16269-amc         Doc 54     Filed 01/11/21 Entered 01/11/21 13:29:11          Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Christelle Rejouis
                              Debtor(s)
                                                                             CHAPTER 13
FREEDOM MORTGAGE CORPORATION, its
successors and/or assigns
                          Movant
                vs.
                                                                           NO. 19-16269 AMC
Christelle Rejouis
                              Debtor(s)

William C. Miller Esq.
                              Trustee


                                      PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Objection to Confirmation of FREEDOM MORTGAGE CORPORATION,
which was filed with the Court on or about December 12, 2019 (Doc. 18).
                                                 Respectfully submitted,

                                                 /s/ Rebecca A. Solarz, Esq._
                                                 Rebecca A. Solarz, Esq.
                                                 KML Law Group, P.C.
                                                 BNY Mellon Independence Center
                                                 701 Market Street, Suite 5000
                                                 Philadelphia, PA 19106


January 11, 2021
